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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                                                   CASE NUMBER: 4:14CR3054-001
                      Plaintiff,
                                                   USM Number: 97402-020
       vs.

MAGALITA GELIN                                     RANDALL L. WERTZ
                                                   DEFENDANT’S ATTORNEY
                      Defendant.


                             JUDGMENT IN A CRIMINAL CASE
                   (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT pleaded guilty to count I of the Indictment on 10/17/2014.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense:

      Title, Section & Nature of Offense           Date Offense Concluded        Count Number

18:286 CONSPIRACY TO DEFRAUD THE                         August 27, 2010                   I
GOVERNMENT

The defendant is sentenced as provided in pages 2 through 9 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Counts II through XIX of the Indictment are dismissed on the motion of the United States as to
this defendant only.

Following the imposition of sentence, the Court advised the defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within fourteen (14) days of
this date pursuant to Fed. R. App. P. 4.

The defendant shall cooperate in the collection of DNA, pursuant to Public Law 108-405
(Revised DNA Collection Requirements under the Justice for All Act of 2004).

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                            Date of Imposition of Sentence:
                                                            May 11, 2015

                                                            s/ John M. Gerrard
                                                            United States District Judge

                                                            May 11, 2015
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                              ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ________________,
20___.

                                                          _____________________________
                                                                Signature of Defendant

                                           RETURN

It is hereby acknowledged that the defendant was delivered on the ___ day of _____________,
20____ to ______________________________________, with a certified copy of this
judgment.

                                                          _____________________________
                                                                UNITED STATES WARDEN

                                                          BY: _________________________

NOTE: The following certificate must also be completed if the defendant has not signed
the Acknowledgment of Receipt, above.

                                       CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day
of ______________, 20____.

                                                          _____________________________
                                                                UNITED STATES WARDEN

                                                          BY: __________________________




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                                          PROBATION

The defendant is hereby sentenced to probation for a term of 5 years.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:

The defendant shall refrain from any unlawful use of a controlled substance. The defendant
shall submit to one drug test within 15 days of release from imprisonment and at least two
period drug tests thereafter.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

       If this judgment imposes a fine or a restitution obligation, it shall be a condition of
probation that the defendant pay any such fine or restitution in accordance with the Schedule of
Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

        The defendant shall comply with the standard conditions that have been adopted by this
court (set forth below). The defendant shall also comply with any additional conditions.


                         STANDARD CONDITIONS OF SUPERVISION

1.      The defendant shall not leave the judicial district without the permission of the court or
        probation officer;
2.      The defendant shall report to the probation officer in a manner and frequency directed by
        the court or probation officer.
3.      The defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      The defendant shall support his or her dependents and meet other family
        responsibilities;
5.      The defendant shall work regularly at a lawful occupation, unless excused by the
        probation officer for schooling, training, or other acceptable reasons;
6.      The defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
7.      The defendant shall refrain from excessive use of alcohol and shall not purchase,
        possess, use, distribute, or administer any controlled substance or any paraphernalia
        related to any controlled substances, except as prescribed by a physician;
8.      The defendant shall not frequent places where controlled substances are illegally sold,
        used, distributed, or administered;
9.      The defendant shall not associate with any persons engaged in criminal activity and
        shall not associate with any person convicted of a felony, unless granted permission to
        do so by the probation officer;
10.     The defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view of the
        probation officer;



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11.     The defendant shall notify the probation officer within seventy-two hours of being
        arrested or questioned by a law enforcement officer;
12.     The defendant shall not enter into any agreement to act as an informer or a special
        agent of a law enforcement agency without the permission of the court;
13.     As directed by the probation officer, the defendant shall notify third parties of risks that
        may be occasioned by the defendant’s criminal record or personal history or
        characteristics and shall permit the probation officer to make such notifications and to
        confirm the defendant’s compliance with such notification requirement.


                              SPECIAL CONDITIONS OF SUPERVISION

1.      The defendant shall cooperate in the collection of DNA as directed by the probation
        officer, pursuant to 28 C.F.R. § 28.12, the DNA Fingerprint Act of 2005, and the Adam
        Walsh Child Protection and Safety Act of 2006, if such sample was not collected during
        imprisonment.

2.      Paragraph # 7 of the Standard Conditions of supervision is modified, i.e., instead of
        merely refraining from excessive use of alcohol, the defendant shall not purchase or
        possess, use, distribute, or administer any alcohol, just the same as any other narcotic
        or controlled substance.

3.      The defendant shall submit his or her person, residence, office, or vehicle to a search
        conducted by a United States Probation Officer at any time; failure to submit to a search
        may be grounds for revocation; the defendant shall warn any other residents that the
        premises may be subject to searches pursuant to this condition.

4.      The defendant shall attend, pay for and successfully complete any diagnostic
        evaluations, treatment or counseling programs, or approved support groups (e.g.,
        AA/NA) for alcohol and/or controlled substance abuse, as directed by the probation
        officer.

5.      The defendant shall participate in a victim awareness program as directed by the
        probation officer. Based on the defendant's ability to pay, the defendant shall pay for the
        costs of the program in an amount determined by the probation officer.

6.      The defendant shall attend, successfully complete, and pay for any mental health
        diagnostic evaluations and treatment or counseling programs as directed by the
        probation officer.

7.      It is recommended that the defendant complete her GED while incarcerated or during
        her term of supervision, or in the alternative, complete an approved vocational
        rehabilitation program as directed by the probation officer.

8.      The defendant shall provide the probation officer with access to any requested financial
        information.

9.      The defendant shall not participate in any gambling activity. Furthermore, she shall not
        enter any casino, gaming or gambling establishment or any business or facility where
        gambling is allowed or occurs and that the defendant remain 2000 feet away from any
        gambling establishment.

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10.     The defendant shall be monitored by the form of location monitoring as directed by her
        supervising officer, for a period of 8 months and shall abide by all technology
        requirements. The participant shall pay the costs of participation in the location
        monitoring program as directed by the court and the probation officer: Active    GPS
        Monitoring

        This form of location monitoring technology shall be utilized to monitor the following
        restriction on the defendant's movement in the community as well as other court-
        imposed conditions of release:
        You are restricted to your residence at all times except for employment; education;
        religious services; medical, substance abuse, or mental health treatment; attorney visits;
        court appearances; court-ordered obligations; or other activities as pre-approved by the
        officer (Home Detention).


11.     Defendant shall serve 12 consecutive weekends in the custody of the Bureau of Prisons
        starting at a time determined by the U. S. Probation officer either during or following her
        period of location monitoring and to end no later than one year from today. The
        intermittent confinement shall be 12 consecutive weekends starting on Friday at 7:00
        p.m. and finishing on Sunday at 7:00 p.m. at a facility determined by the probation office
        and the Bureau of Prisons.

12.     The defendant shall pay restitution in the amount of $56,508.00, jointly and severally
        with codefendant, Joshua Miles. Restitution shall be paid to the Clerk of the U.S. District
        Court, 111 S. 18th Plaza, Suite 1152, Omaha, Nebraska 68102-1322. If not already
        disbursed, restitution shall be disbursed as follows:

        Internal Revenue Service
        ATTN: Kansas City Submission Processing Center-IRS Special Services
        333 West Pershing Road
        Kansas City, MO 64108-4302, Attn: Mail Stop 6262, DOJ IPAC

         Victim's Name                   Amount
         Internal Revenue Service        $56,508.00


        Without limiting the foregoing, and following release from prison, the defendant shall
        make payments to satisfy the criminal monetary penalty in the following manner: (a)
        monthly installments of $100 or 5% of the defendant's gross income, whichever is
        greater; (b) the first payment shall commence 30 days following the defendant's
        sentencing, and continue until the criminal monetary penalty is paid in full; and (c) the
        defendant shall be responsible for providing proof of payment to the probation officer as
        directed.

13.     The defendant shall inform the probation officer of any change in her economic
        circumstances affecting the ability to make monthly installments, or increase the monthly
        payment amount, as ordered by the Court. In the event the defendant is able to make a
        full or substantial payment toward the remaining criminal monetary penalty, she shall do
        so immediately.



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14.     The defendant shall not obtain employment or hold any job that involves financial
        obligations, the handling of money, or the personal information of others.

15.     The defendant is restrained from transferring any real or personal property, unless it is
        necessary to liquidate and apply the proceeds of such property as full or partial payment
        of the criminal monetary penalty.

16.     Pursuant to 18 U.S.C. § 3563(a)(5), the defendant shall submit to a drug test within
        fifteen (15) days of release on probation and at least two (2) periodic drug tests
        thereafter to determine whether the defendant is using a controlled substance. Further,
        the defendant shall submit to such testing as requested by any probation officer to detect
        the presence of alcohol [by any method available to the probation officer] or controlled
        substances in the defendant's body fluids and to determine whether the defendant has
        used any of those substances. Based on the defendant's ability to pay, the defendant
        shall pay for the collection of urine samples to be tested for the presence of alcohol or
        controlled substances in an amount determined by the probation officer.

17.     The defendant shall report to the Supervision Unit of the U.S. Probation Office for the
        Middle District of Alabama, Frank M. Johnson, Jr. United States Courthouse, One
        Church Street, Montgomery, AL 36104, (334) 954-3226, between the hours of 8:00 a.m.
        and 4:30 p.m., within seventy-two (72) hours of being placed on probation or release
        from confinement, and, thereafter, as directed by the probation officer.




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                                CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth in this judgment.

      Total Assessment                         Total Fine                        Total Restitution

            $100.00                                                                 $56,508.00

The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that interest requirement is waived.


                                                 FINE
No fine imposed.


                                           RESTITUTION

Restitution in the amount of $56,508 hereby ordered. Restitution is hereby ordered jointly and
severally with codefendant Joshua Miles. The defendant shall make restitution to the following
payees in the amounts listed below.

                                                                                     Priority Order or
                                                         Amount of Restitution        Percentage of
    Name of Payee             Total Amount of Loss            Ordered                    Payment

Internal     Revenue                   $56,508.00                  $56,508.00
Service
ATTN: Kansas City
Submission
Processing    Center-
IRS Special Services
        333     West
Pershing Road
        Kansas City,
MO        64108-4302,
Attn: Mail Stop 6262,
DOJ IPAC

Totals                                 $56,508.00                  $56,508.00

**Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and
113A of Title 18,United States Code, for offenses committed on or after September 13, 1994 but
before April 23, 1996.

The Court gives notice that this case involves other defendants who may be held jointly and
severally liable for payment of all or part of the restitution ordered herein and may order such
payment in the future.




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                                SCHEDULE OF PAYMENTS


The defendant shall pay the special assessment in the amount of $100.00.

The criminal monetary penalty is due in full on the date of the judgment. The defendant is
obligated to pay said sum immediately if he or she has the capacity to do so. The United States
of America may institute civil collection proceedings at any time to satisfy all or any portion of
the criminal monetary penalty.

Without limiting the foregoing, and during the defendant’s term of incarceration, the defendant
shall participate in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such
Program, the defendant shall pay 50% of the available inmate institutional funds per quarter
towards the criminal monetary penalty.

Without limiting the foregoing, and following release from prison, the defendant shall make
payments to satisfy the criminal monetary penalty in the following manner: (a) monthly
installments of $100 or 5% of the defendant’s gross income, whichever is greater; (b) the first
payment shall commence 30 days following the defendant’s discharge from incarceration, and
continue until the criminal monetary penalty is paid in full; and (c) the defendant shall be
responsible for providing proof of payment to the probation officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the
following order of priority: special assessment; restitution; fine; and other penalties. Unless
otherwise specifically ordered, all criminal monetary penalty payments, except those payments
made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be
made to the clerk of the Court. Unless otherwise specifically ordered, interest shall not accrue
on the criminal monetary penalty.

All financial penalty payments are to be made to the Clerk of the U. S. District Court, 111 S.
18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal
monetary penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly
payment amount, as ordered by the court.

The defendant is restrained from transferring any real or personal property, unless it is
necessary to liquidate and apply the proceeds of such property as full or partial payment of the
criminal monetary penalty.




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Restitution is hereby ordered jointly and severally with: Joshua Miles, 4:14CR3054, $56,508.00.



CLERK'S OFFICE USE ONLY:
ECF DOCUMENT



I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk




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